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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF OKLAHOMA


 RONALD JUNIOR HANEY,                       )
                                            )
        Petitioner,                         )
                                            )
 -vs-                                       )     Case No. CIV-20-1118-F
                                            )
 LUKE PETTIGREW,                            )
                                            )
        Respondent.                         )

                                       ORDER

        Petitioner, Ronald Junior Haney, appearing pro se, filed a petition for a writ
of habeas corpus under 28 U.S.C. § 2254. The matter was referred to United States
Magistrate Judge Suzanne Mitchell in accordance with 28 U.S.C. § 636. After
careful examination of the petition, as required by Rule 4 of the Rules Governing
Section 2254 Cases in the United States District Courts, Magistrate Judge Mitchell
issued a Report and Recommendation, recommending the petition be dismissed for
lack of jurisdiction.
        Magistrate Judge Mitchell advised petitioner of his right to file an objection
to the Report and Recommendation on or before December 28, 2020, and she
specifically advised him that the failure to file a timely objection waives the right to
appellate review of both the factual and legal issues therein contained.
        Petitioner has neither filed an objection to the Report and Recommendation
nor filed a motion seeking an extension of time to file an objection. With no
objection being filed, the court accepts, adopts, and affirms the Report and
Recommendation in its entirety.
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        Accordingly, the Report and Recommendation issued by United States
Magistrate Judge Suzanne Mitchell on December 7, 2020 (doc. no. 5) is
ACCEPTED, ADOPTED and AFFIRMED. Petitioner, Ronald Junior Haney’s
Petition for a Writ of Habeas Corpus, filed as of October 29, 2020 (doc. no. 1), is
DISMISSED for lack of jurisdiction. Judgment shall issue forthwith.
        IT IS SO ORDERED this 11th day of January, 2021.




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